                     Case 1:19-mj-00597-SH Document 1 Filed 09/25/19 Page 1 of 6                         flLED
AO 91 (Rev. 11/11) Criminal Complaint                                                                      SEP25
                                                                                                                    DISTRIt''OURT
                                     UNITED STATES DISTRICT COUSTRtCTOTEXAS
                                                                   for the                       BY

                                                      Western District of Texas

                 United States of America                             )


                        Mondre Garrett
                                                                             Case NOA     19 M               597

                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best    of my knowledge and belief.
On or about the date(s) of                September 24, 2019                 in the county of              Travis           in the
      Western          District of            Texas            ,   the defendant(s) violated:

             Code Section                                                       Offense Description
18 USC 922(g)(1)                               Unlawful possession of a firearm by a previously convicted felon




          This criminal complaint is based on these facts:
See attached affidavit.




          QI   Continued on the attached sheet.




                                                                                       Special Agent Royce Clayborne, DEA
                                                                                                Printed name and title

 Sworn to before me and signed in my presence.


 Date:             09/25/2019
                                                                                                  Judge's signature

 City and state:                         Austin, Texas                           Susan Hightower, United States Magistrate Judge
                                                                                                Printed name and title
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                                  UNITED STATES DISTRICT COURT                         CLERK,
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                                         AUSTIN DIVISION
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                                                        §
     THE UNITED STATES OF AMERICA,                      §
                                                        §
     Plaintiff,                                         §
                                                        §
 vs.                                                    §    CRIMINAL&9JL597
                                                        §
     SHAWN P. FONTENETTE (1),                           §
     MONDRE GARRETT (2),                                §
                                                        §
 Defendants.                                            §
                                                        §

                       AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Royce Clayborne, being duly sworn, state as follows:

1.         I   have been an Agent with the DEA for approximately 15 years and am currently assigned to

the Austin Resident Office High Intensity Drug Task Area (HIDTA) Task Force in Austin, Texas. I

have participated in all aspects of drug and gang investigations, including but not limited to

conducting surveillance, analyzing information obtained from court ordered pen registers and

telephone toll information, and conducting court-authorized wire intercepts. Additionally, I have

served as the affiant on numerous affidavits in support of criminal complaints during my law

enforcement career.

2.         I am an   "investigative or law enforcement officer of the United States" within the meaning

of    18 U.S.C. § 25 10(7); that is, I am an DEA Special    Agent who is authorized by law to conduct

investigations and make arrests for offenses enumerated in 18 U.S.C.       §   2516.

3.         This affidavit is submitted in support of my application for the issuance of criminal

complaints and arrest warrants against Shawn P. Fontenette and Mondre Garrett for violating 18

U.S.C.     §   922(g)(1) (unlawful possession of a firearm by a previously convicted felon).

4.         This affidavit is based on evidence obtained by law enforcement during this investigation,
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including information obtained from a credible and reliable source of information (SOl), physical

surveillance, telephone toll analysis, and discussions with other law enforcement officers. Because

this affidavit is being submitted for the limited purpose of establishing probable cause for the

issuance of the criminal complaint and arrest warrant that are sought, it does not contain every fact

known to me or other law enforcement officers.

                                        LtS)JIUJ'i
5.     Since approximately January 2019, the DEA HIDTA Task Force has been conducting an

investigation into a drug trafficking organization operating in the Austin, Texas area led by Shawn

P. Fontenette and Mondre Garrett. During the course of this investigation, law enforcement has used

a variety of investigative techniques to gather evidence about the organization. This evidence has

been used to identify members of organization and their roles in the trafficking of methamphetamine,

cocaine, heroin and other substances.

6.     During August 2019, information received from a credible and reliable SOT indicated that

Fontenette and Garrett were both large scale drug traffickers selling kilogram amounts of cocaine,

heroin and methamphetamine in various forms in Austin, Texas. This SOT also informed Agents

that Garrett was known to carry a firearm on his person.

7.     During September 2019, on at least two occasions, both Fontenette and Garrett have been

observed by physical surveillance entering and exiting an apartment complex located at 3201

Esperanza Crossing, Austin, Texas. On at least two separate occasions, Fontenette was observed

entering and exiting an apartment complex at 3000 Kramer #1447, Austin, Texas.

&      During the course of this investigation, Agents utilized another credible and reliable SOT

(SOT #2) to conduct controlled purchases    of multi-ounce quantities of cocaine from Fontenette.

During one of these controlled purchases, physical surveillance observed Fontenette and Garrett in

a vehicle exiting the parking garage of the apartment complex located at 3201 Esperanza Crossing,

Austin, Texas.   Fontenette was observed driving a Dodge pickup truck and Garrett was the
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passenger. Garrett was observed exiting Fontenette's vehicle and entering his vehicle and departing

the area. Fontenette then went directly to his residence at 3000 Kramer #1447 and completed the

controlled purchase with SOl #2. Based upon the evidence obtained from these controlled purchases

and other investigative means, Agents sought and obtained state search warrants in 1 47th District

Court signed by Honorable Travis County District Judge Clifford A. Brown for three apartments

identified as follows: 3201 Esperanza Crossing #611, Austin, Texas; 3201 Esperanza Crossing

#550, Austin, Texas; and 3000 Kramer #1447, Austin, Texas. These are all locations within the

Western District of Texas.

9.     On September 24, 2019, at approximately 6:00am, law enforcement executed these three

search warrants simultaneously at each of the above locations. During the execution of the search

warrant at 3000 Kramer #1447, Austin, Texas, Agents located Fontenette in the master bedroom of

the apartment. During a search of the master bedroom, Agents located a loaded .45 caliber pistol

(Manufactured by FN Herstal, Serial number FX3UOO 1116) under the mattress where Fontenette

was sleeping prior to law enforcement's arrival. Fontenette was taken in custody. I know from

training and experience that drug traffickers such as Fontenette often keep firearms to protect

themselves from rival drug dealers and law enforcement.

10.    During the execution of the search warrant at 3201 Esperanza Crossing #550, Austin, Texas,

Agents conducting perimeter security of the apartment observed Garrett walking towards apartment

#550 carrying two black backpacks. Agents approached Garrett based on his close association with

Fontenette and the previous observations made of Garrett at the apartment complex during a

controlled purchase. During the encounter, Agents, who immediately recognized Garrett, asked

Garrett to identify himself and he responded with a false name. Agents then asked Garrett "how

much dope" was in the bag and he responded "a lot." Agents then searched the bags and located a

loaded .38 caliber revolver (Manufactured by Rossi, Serial number AAU90945) and approximately
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9,080 grams of a crystalline substance that field tested positive for methamphetamine.

11.     Both Fontenette and Garrett have multiple felony convictions for which they received

sentences of more than one year.

12.     Specifically, Fontenette has a felony conviction for possession of a controlled substance in

2008, for which he received a sentence of 2 years confinement; a conviction for possession of

marijuana in 2008, for which he received a sentence of 2 years confinement; and a federal conviction

for possession with intent to distribute 500 grams or more of cocaine in 2011, for which he originally

received a sentence of 100 months confinement, which sentence was later reduced to 83 months

confinement.

13.     Garrett has a conviction for possession of a controlled substance in 2005, for which he

received a sentence of 10 years confinement; a conviction for aggravated assault causing serious

bodily injury in 2005, for which he received a sentence of 10 years confinement; and federal

convictions for possession with intent to distribute 50 grams or more of cocaine base and possession

of a firearm in furtherance of a drug trafficking crime, for which he received a total sentence of 192

months imprisonment.

14.    Based on the number, nature, and recency of these convictions, as well as the duration of the

sentences, there is probable cause to believe that Fontenette and Garrett knew they had previously

been convicted of crimes punishable by terms of imprisonment exceeding one year.

15.    Your Affiant contacted an ATF Interstate Nexus expert who conducted a preliminary

examination of the aforementioned firearms and has determined that the firearms have previously

traveled in and affected interstate and/or foreign commerce.
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16.    Based on the foregoing, there is probable cause to believe that Shawn P. Fontenette and

Mondre Garrett violated 18 U.S.C.   §   922(g)(1) within the Western District of Texas.



       I declare under penalty   of perjury that the foregoing is true and correct to the best of my

knowledge and belief.



                                                              EAYBORNE
                                                       Special Agent
                                                       Drug Enforcement Administration




Subscribed and sworn to before me at Austin, Texas, on     this$day of September, 2019.


                                                       UNITED STATES MAGISTRATE JUDGE
